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                                 Josephine Lee
                               8
                               9
                              10                     UNITED STATES DISTRICT COURT
                              11                               FOR THE
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                                                   NORTHERN DISTRICT OF CALIFORNIA
                              12
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13   JOSEPHINE LEE,                         Case No.: 3:22-cv-02718-SK

                              14                Plaintiff,                FIRST AMENDED COMPLAINT
                                                        v.                FOR DAMAGES FOR
                              15                                          VIOLATIONS OF:
                              16   CITIBANK, N.A. AND
                                   PAYPAL, INC.                             1. THE ELECTRONIC FUND
                              17                                               TRANSFER ACT, 15 U.S.C. §§
                              18                Defendants.                    1693, ET SEQ.;
                                                                            2. NEGLIGENCE;
                              19                                            3. CALIFORNIA’S UNFAIR
                              20                                               COMPETITION LAW, CAL.
                                                                               BUS. & PROF. CODE §§
                              21
                                                                               17200, ET SEQ.; AND
                              22                                            4. CONVERSION
                              23                                          DEMAND FOR JURY TRIAL
                              24 ///
                              25 ///
                              26 ///
                              27 ///
                              28

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                               1                                         INTRODUCTION
                               2 1.    Plaintiff Josephine Lee was in Mexico on vacation when she happened to check
                               3       her bank account and saw two pending transfers totaling just over $10,000. She
                               4       received no fraud alerts regarding these two transfers. When she saw the
                               5       unauthorized transfers, she immediately notified Citibank, who said they would
                               6       take care of it. Instead of taking care of it, Citibank allowed those two transactions,
                               7       and a third transaction for $9,900 to post to her account. Citibank has not provided
                               8       credits for any part of the amount stolen from Plaintiff, and has refused to
                               9       investigate Plaintiff’s claim of unauthorized transfer due to identity theft.
                              10 2.    JOSEPHINE LEE (“Plaintiff”), by her attorney, brings this action for actual
                              11       damages, statutory damages, punitive damages, injunctive relief, restitution,
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                              12       attorneys fees, and costs, against CITIBANK, N.A. (“Defendant Citibank” or
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                              13       “Citibank”) and PAYPAL, INC. (“Defendant PayPal” or “PayPal”)
                              14       (collectively referred to as “Defendants”) for violations of the Electronic Fund
                              15       Transfer Act, 15 U.S.C. §§ 1693 et seq. (“EFTA”), Cal. Bus. Code §§ 17200 et
                              16       seq, conversion, and negligence.
                              17 3.    Plaintiff makes these allegations on information and belief, with the exception
                              18       of those allegations that pertain to the Plaintiff, or to the Plaintiff’s counsel,
                              19       which Plaintiff alleges on personal knowledge.
                              20 4.    While many violations are described below with specificity, this Complaint
                              21       alleges violations of the statutes cited in their entirety.
                              22 5.    All violations by Defendant were knowing, willful, and intentional, and
                              23       Defendant did not maintain procedures reasonably adapted to avoid any such
                              24       violations.
                              25 6.    Unless otherwise indicated, the use of a Defendant’s name in this Complaint
                              26       includes all agents, principles, managing agents, employees, officers, members,
                              27 ///
                              28

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                               1       directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
                               2       representatives, and insurers of that Defendant named.
                               3                                JURISDICTION AND VENUE
                               4 7.    Jurisdiction of this court arises pursuant to 28 U.S.C. § 1331, which grants this
                               5       court original jurisdiction of all civil actions arising under the laws of the United
                               6       States, 15 U.S.C. §§ 1693 et seq., and pursuant to 28 U.S.C. § 1367 for pendent
                               7       state law claims.
                               8 8.    This action arises out of Defendants’ tortious act of negligence and violations
                               9       of the EFTA.
                              10 9.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because the acts and
                              11       transactions occurred here, Plaintiff resides here, and Defendants transact
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                              12       business here.
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                              13                                           EFTA
                              14 10. The stated purpose of the EFTA is to “provide a basic framework establishing
                              15       the rights, liability, and responsibilities of participants in electronic fund
                              16       transfer systems.” 15 U.S.C. § 1693(b). EFTA’s “primary objection…is the
                              17       provision of individual consumer rights.” Id. Moreover, the language of EFTA
                              18       indicates that the consumer protection measures contemplated by it are aimed
                              19       at promoting disclosure, preventing fraud, and allocating liability. Id., at 1693d-
                              20       l.
                              21                                          PARTIES
                              22 11. Plaintiff is a natural person who resides in San Francisco County, California.
                              23       Plaintiff is currently and at all times complained of a “Person” as that term is
                              24       defined by Regulation E in 12 C.F.R. 1005.2(j), and a “Person” as that term is
                              25       defined by Cal. Bus. & Prof. Code §§ 17201 and 17203.
                              26 12. Defendant Citibank, N.A. is a Delaware corporation operating from a
                              27       Headquarters address of 388 Greenwich Street, New York, NY 10013, and is a
                              28       “person” as defined by Regulation E in 12 C.F.R. 1005.2(j). Defendant is a

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                               1       “Financial Institution” as that term is defined by Regulation E in 12 C.F.R.
                               2       1005.2(i). Defendant is a “Person” as that term is defined by Cal. Bus. & Prof.
                               3       Code §§ 17201 and 17203.
                               4 13. Defendant PayPal, Inc. is a Delaware corporation operating from a headquarters
                               5       address of 2211 North First Street, San Jose, CA 95131, and is a “person” as
                               6       defined by Regulation E in 12 C.F.R. 1005.2(j). Defendant is a “Financial
                               7       Institution” as that term is defined by Regulation E in 12 C.F.R. 1005.2(i).
                               8       Defendant is a “Person” as that term is defined by Cal. Bus. & Prof. Code §§
                               9       17201 and 17203.
                              10                                 FACTUAL ALLEGATIONS
                              11 14. Plaintiff is an individual residing in San Francisco County, California.
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                              12 15. Plaintiff is informed and believes, and thereon alleges, that at all times relevant,
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                              13       Defendant conducted and continues to conduct business in the State of
                              14       California.
                              15 16. Plaintiff’s account with Defendant Citibank constitutes an “account” as defined
                              16       by 15 U.S.C. § 1693a(2); and, 12 C.F.R. 1005.2(b)(1).
                              17 17. The account opened in Plaintiff’s name with Defendant PayPal constitutes an
                              18       “account” as defined by 15 U.S.C. § 1693a(2); and, 12 C.F.R. 1005.2(b)(1).
                              19 18. On May 16, 2021, Plaintiff was in Mexico, and happened to check her Citibank
                              20       account and saw that there were two transactions she did not recognize – one for
                              21       $3,900 (5/12/2021) and one for $6,800 (5/14/2021) that were outgoing to PayPal.
                              22 19. That same day, Plaintiff called Defendant Citibank and informed them of the
                              23       unauthorized transactions, told them she was in Mexico at the time, and asked that
                              24       the transactions be reversed. The Citibank representative told her not to worry
                              25       about it, and that they would take care of it.
                              26 20. Because Defendant Citibank reassured her they would take care of it, Plaintiff did
                              27       not close her account.
                              28 ///

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                               1 21. Plaintiff also called Defendant PayPal to let them know what happened and that
                               2       the transactions it would be receiving from her Citibank account were
                               3       unauthorized, and PayPal refused to provide any information.
                               4 22. Plaintiff checked her Citibank account again on May 19, 2021, and saw that there
                               5       was a third unauthorized charge for $9,900 (5/18/2021), and that the other two
                               6       transactions were still on her account – Defendant Citibank had not reversed the
                               7       charges or provided credits for the first two charges.
                               8 23. Plaintiff again called Defendant Citibank on May 19, 2021, to ask what happened
                               9       with the first two unauthorized charges and to report the third unauthorized
                              10       charge. On this call Plaintiff also told Citibank there was a phone number and an
                              11       email on her account that she did not recognize.
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                              12 24. At no time did Citibank require Plaintiff to confirm her disputes in writing.
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                              13 25. Defendant Citibank did not reverse any of the three unauthorized charges or
                              14       provide any provisional credit.
                              15 26. On information and belief, Defendant Citibank did not investigate Plaintiff’s
                              16       claims.
                              17 27. Plaintiff again called Defendant PayPal to ask them to return the money from the
                              18       two posted transactions and to inform them of the third unauthorized transaction.
                              19            a. PayPal still refused to provide any information to Plaintiff despite
                              20                  Plaintiff spending hours on the phone attempting to get more information
                              21                  on where her money was.
                              22 28. At no time did Defendant PayPal require Plaintiff to confirm her disputes in
                              23       writing.
                              24 29. Plaintiff returned to the U.S. from Mexico on May 20, 2022, and called both
                              25       Defendant Citibank and Defendant PayPal numerous times attempting to get her
                              26       money returned and to get more information on who removed it from her account
                              27       in the first place.
                              28            a. Plaintiff spent hours on the phone with both Defendants individually.

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                               1            b. Defendant Citibank told Plaintiff it would get back to her via mail in 14
                               2               days.
                               3            c. Defendant PayPal still refused to provide Plaintiff with any information,
                               4               claiming they couldn’t find any transaction linked to Plaintiff in any way.
                               5 30. On May 24, 2021, Plaintiff went into the West Portal Citibank branch and spoke
                               6       with Brett M. regarding her claim. Plaintiff called into Citibank later that day and
                               7       was informed that her claim was denied.
                               8 31. Plaintiff received a letter from Defendant Citibank dated May 27, 2021, stating
                               9       that because Plaintiff had used Citibank’s bill pay service before (the source of
                              10       the unauthorized transactions), Plaintiff would have to contact the merchant for
                              11       reimbursement if necessary – but that Citibank would not do anything further to
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                              12       help her get her money back.
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                              13 32. Plaintiff does not remember ever using Citibank’s bill pay service.
                              14 33. On June 4, 2021, Plaintiff went into the Noriega Citibank branch and spoke with
                              15       Lily Z., where Plaintiff appealed the denial.
                              16 34. On June 4, 2021, Plaintiff also called the Taraval Police Department and was told
                              17       that filing a local report was “useless” – they advised her to file an internet crimes
                              18       report, which she did.
                              19 35. On June 27, 2021, Plaintiff submitted an FDIC Complaint against Citibank and
                              20       contacted the CFPB.
                              21 36. On June 28, 2021, Citibank denied her claim again.
                              22 37. On July 1, 2021, Plaintiff submitted a CFPB complaint against Citibank.
                              23 38. Plaintiff called Citibank on July 2, July 4, and July 9, 2021 again to check the
                              24       status of her appeal.
                              25 39. On July 10, 2021, a Citibank representative called Plaintiff to ask questions about
                              26       her case. This was the first time the person from Citibank who called Plaintiff
                              27       actually knew about the history of her case.
                              28 ///

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                               1 40. On July 13, 2021, Citibank again denied her claim. The denial stated that a one
                               2       time password was sent to Plaintiff’s phone number, but she never received this
                               3       contact or any other contact about the three unauthorized charges that cleared her
                               4       account. Plaintiff’s phone was on airplane mode between 5/12/2021 and
                               5       5/20/2021.
                               6 41. On July 13, 2021, Citibank also provided Plaintiff with a “merchant transaction
                               7       report” which included detailed information about the transactions (and showed
                               8       they went to a PayPal account).
                               9 42. Plaintiff then called PayPal again to ask for information and get her money back,
                              10       and PayPal still could not find any information with Plaintiff’s Citibank account
                              11       information listed on it, and refused to look further into it.
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                              12 43. Plaintiff called Citibank on July 13, July 14, July 16, and July 23, 2021, to request
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                              13       transcripts of all calls and voice recordings from the initial call Plaintiff made on
                              14       5/16/2021, and was told not to worry – Plaintiff never received the recordings.
                              15 44. Plaintiff also made numerous requests to Defendant Citibank for the documents
                              16       they used in their investigation, but did not receive the documents even after
                              17       multiple requests.
                              18 45. On July 16, 2021, Plaintiff filed an OCC complaint, and filed a consumer
                              19       complaint with the SF District Attorneys’ office.
                              20 46. On July 16, 2021, Plaintiff called PayPal again, who again could find no record
                              21       of Plaintiff’s Citibank account or routing numbers.
                              22 47. On July 16, 2021, Plaintiff went to the Taraval Citibank branch and was told to
                              23       call the fraud department. A branch associate called the fraud department with
                              24       Plaintiff in the branch, and Plaintiff was again told she would receive all of the
                              25       documents Citibank used in its investigation. Plaintiff did not receive the
                              26       documents.
                              27 48. On July 18, 2021, Plaintiff filed a police report at the Richmond San Francisco
                              28       Police Department (who inaccurately cited the bank at issue as Chase, which

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                               1       Plaintiff is working on supplementing to correct this issue), after she was advised
                               2       numerous times by the Taraval San Francisco Police Department that a police
                               3       report was not necessary.
                               4 49. On July 21, 2021, Plaintiff filed a second CPFB complaint against Citibank.
                               5 50. On July 29, 2021, Citibank responded to Plaintiff’s CPFB complaint listing the
                               6       details of the transaction, and stating that Plaintiff needed to contact PayPal for
                               7       further assistance.
                               8            a. The letter stated that the $9,900 transaction originated on the mobile app
                               9               using a Google Pixel on May 17, 2021.
                              10            b. It also stated that because Plaintiff had contacted them the day before this
                              11               transaction, there was no payment to stop. This was false because there
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                              12               were the two other payments that Plaintiff had asked Citibank to stop
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                              13               because they were fraudulent.
                              14            c. Citibank claimed the PayPal account that the bill pay unauthorized
                              15               transactions went to was attached to Plaintiff’s Citibank account around
                              16               September 28, 2010 – this was later found to be untrue when PayPal
                              17               finally gave Plaintiff information that showed the PayPal account to
                              18               which the fraudulent transfers were made was created in May 2021.
                              19 51. On August 9, 2021, Citibank refused to provide Plaintiff with the recording of the
                              20       5/16/2021 phone call, stating they required a subpoena or court order to release
                              21       those recordings.
                              22 52. On August 30, 2021, Plaintiff contacted PayPal again, and they were still unable
                              23       to find any information related to these unauthorized transfers, even though
                              24       Plaintiff provided the Citibank documents she had to PayPal.
                              25 53. On August 31, 2021, Plaintiff contacted Citibank’s fraud department and Citibank
                              26       suggested they might be able to do a 3 way call with PayPal – this idea was shot
                              27       down by another representative at Citibank and never happened.
                              28 ///

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                               1 54. On September 1, 2021, Citibank responded providing Plaintiff with an IP address,
                               2       but no IMEI to determine the phone from which the transaction(s) were made.
                               3 55. On September 23, 2021, Citibank denied Plaintiff’s claim again – she received a
                               4       call from “Cameron” at Citibank’s Office of the President, who stated they
                               5       considered her case closed and would no longer respond to her requests for
                               6       review, and would not answer any further questions.
                               7 56. On October 1, 2021, Plaintiff filed a CFPB complaint against PayPal. Plaintiff’s
                               8       police report was attached to and provided to PayPal via this CFPB complaint.
                               9 57. PayPal responded to Plaintiff’s CFPB complaint on October 15, 2021, stating that
                              10       the original account was created with Plaintiff’s email address in 2010, and that a
                              11       second account was created in Plaintiff’s name on May 8, 2021, using the email
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                              12       address “barbaraqwest@outlook.com.” It was the second account that all of the
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                              13       fraudulent transfers were made to.
                              14            a. The transfers to the second, unauthorized PayPal account totaled $20,600.
                              15            b. On June 14, 2021, a debit card was added to the unauthorized PayPal
                              16               account, and the $20,600 was withdrawn from the unauthorized PayPal
                              17               account either to the debit card, or for other transactions on PayPal.
                              18            c. PayPal’s CFPB response noted that the CFPB complaint “notified”
                              19               PayPal that Plaintiff was disputing the validity of the activity regarding
                              20               the unauthorized PayPal account, PayPal conducted an additional review
                              21               of the unauthorized account and found Plaintiff’s claim of identity theft
                              22               to be valid.
                              23            d. PayPal also provided a document in response to the CFPB complaint
                              24               showing the fraudulent account information.
                              25 58. On October 17, 2021, Plaintiff filed an FTC Identity Theft Affidavit.
                              26 59. On October 21, 2021, Plaintiff updated her Richmond SFPD police report with
                              27       all supporting documents regarding the theft of Plaintiff’s identity.
                              28 ///

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                               1 60. Plaintiff submitted a third CFPB complaint against Citibank on November 22,
                               2       2021. Plaintiff’s police report was attached to and provided to Citibank via this
                               3       CFPB complaint.
                               4 61. Though PayPal eventually came to the proper conclusion of identity theft, they
                               5       spent months with actual knowledge that Plaintiff’s money was somewhere in a
                               6       PayPal account, still permitted a third party to withdraw the full amount of stolen
                               7       funds from the unauthorized PayPal account, and did nothing to secure the
                               8       account after Plaintiff originally notified PayPal of the issue in May 2021.
                               9 62. Despite concluding that the transactions and opening of the second PayPal
                              10       account were all due to identity theft, PayPal did nothing to recover the money
                              11       from the thief, and did not return the money to Plaintiff. PayPal continued to tell
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                              12       Plaintiff she needed to take it up with the bank and that they had no responsibility
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                              13       for returning the money.
                              14 63. The abovementioned charges were unauthorized electronic fund transfers as
                              15       defined by 15 U.S.C. § 1693a(12); and 12 C.F.R. 1005.2(m).
                              16 64. At no point did either Defendant request additional information from Plaintiff
                              17       to assist with either Defendant’s investigation.
                              18 65. On information and belief, at no point did either Defendant contact the San
                              19       Francisco Police Department.
                              20 66. Defendants both failed to provisionally re-credit Plaintiff within 10 days of
                              21       Plaintiff’s disputes each time a dispute was made.
                              22 67. Defendant Citibank’s form letters failed to provide an explanation regarding its
                              23       decision to reject Plaintiff’s claims.
                              24 68. Defendant Citibank did not make a good faith investigation of any the
                              25       unauthorized electronic fund transfers.
                              26 69. Defendants did not have a reasonable basis for believing that Plaintiff’s account
                              27       was not in error.
                              28 ///

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                               1 70. Defendants knowingly and willfully concluded that Plaintiff’s account was not
                               2       in error when such conclusion could not reasonably have been drawn from the
                               3       evidence available to Defendant at the time of its investigation.
                               4 71. Through this conduct, Defendants violated 15 U.S.C. § 1693f.
                               5 72. Defendants imposed liability on Plaintiff for the entirety of the disputed
                               6       transactions and fees of around $20,600.
                               7 73. Through this conduct, Defendants violated 15 U.S.C. § 1693g(a).
                               8 74. Defendants knew that it had a legal duty to ensure that Plaintiff received required
                               9       notices, to conduct a reasonable investigation into her fraud claim, to
                              10       provisionally re-credit her account while each investigated and to protect
                              11       Plaintiff’s account(s) with their respective institutions after they were made aware
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                              12       of the identity theft issue in May 2021.
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                              13 75. Defendants did not comply with those duties and these failures were a direct and
                              14       proximate cause of Plaintiff’s damages.
                              15 76. Defendants’ despicable and outrageous conduct was performed knowingly,
                              16       deliberately, and willfully, with reckless disregard of the probable consequences,
                              17       they were oppressive to Plaintiff, and they were malicious in that Plaintiff’s
                              18       suffering as a result of Defendants’ conduct was a virtual certainty.
                              19                                   ACTUAL DAMAGES
                              20 77. Plaintiff has suffered actual damages as a result of these illegal tactics by these
                              21       Defendants in the form of, pecuniary loss, invasion of privacy, personal
                              22       embarrassment, loss of productive time, nausea, and feelings of fear, anxiety,
                              23       hopelessness, anger, persecution, emotional distress, frustration, upset,
                              24       humiliation, and embarrassment, amongst other negative emotions.
                              25 ///
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                               1                      CAUSES OF ACTION CLAIMED BY PLAINTIFF
                               2                                         COUNT I
                               3                               VIOLATION OF THE EFTA
                               4                               15 U.S.C. §§ 1693, ET SEQ.
                               5                              [AGAINST ALL DEFENDANTS]
                               6 78. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                               7       as though fully stated herein.
                               8 79. The foregoing acts and omissions constitute numerous and multiple violations
                               9       of EFTA.
                              10                                         COUNT II
                              11                                        NEGLIGENCE
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                              12                              [AGAINST ALL DEFENDANTS]
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                              13 80. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              14       as though fully stated herein.
                              15 81. A defendant is liable for the tort of negligence when it fails to use reasonable
                              16       care to prevent harm to others, and when the defendant’s actions or failure to
                              17       act is a substantial factor in causing harm to the plaintiff.
                              18 82. Defendants each violated at least one of their respective general duties of care
                              19       to Plaintiff when it, inter-alia, willingly harassed, lied to, and failed to make a
                              20       full and proper investigation into Plaintiff’s claim of fraud and theft. Defendants
                              21       each specifically failed to secure Plaintiff’s account(s) with their respective
                              22       institutions, causing further loss of funds due to unauthorized transfers.
                              23 83. As a direct result of Defendants’ lack of due care, Plaintiff suffered actual
                              24       damages in an amount to be proven at trial.
                              25 ///
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                               1                                        COUNT III
                               2              VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW
                               3                    CAL. BUS. & PROF. CODE §§ 17200, ET SEQ. (UCL)
                               4                             [AGAINST ALL DEFENDANTS]
                               5 84. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                               6       as though fully stated herein.
                               7                                         Unlawful
                               8 85. Defendants violated EFTA’s regulations regarding prevention and investigation
                               9       of fraud and violated the law by failing to prevent unauthorized transactions on
                              10       Plaintiff’s account(s), and then failing to return the funds once the fraud was
                              11       pointed out to it.
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                              12 86. Defendants’ unlawful business practices directly harmed Plaintiff since
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                              13       Plaintiff has suffered monetary damages due to said conduct.
                              14 87. This illegal conduct exacerbated the hardship currently being suffered by
                              15       Plaintiff since Plaintiff is already experiencing financial hardships as a result of
                              16       the current economic downturn.
                              17 88. Thus, Defendants’ conduct has violated the “unlawful” prong of the Cal. Bus.
                              18       & Prof. Code § 17200.
                              19                                          Unfair
                              20 89. Cal. Bus. & Prof. Code § 17200 prohibits any “unfair ... business act or
                              21       practice.”
                              22 90. Defendants’ actions as described above were contrary to public policy and
                              23       generally recognized standards of business and industry practices.
                              24 91. Defendants engaged in the following unfair conduct in violation of § 17200:
                              25            a. As discussed above, Defendants have failed to prevent withdrawal of
                              26               funds by someone other than Plaintiff without written or oral
                              27               authorization for that person to do so.
                              28 ///

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                               1           b. Defendants failed to return Plaintiff’s money when Plaintiff notified it
                               2              of the unauthorized access to her bank card.
                               3           c. Defendants failed to maintain and follow procedures to investigate a
                               4              consumer’s claims of theft and unauthorized transactions.
                               5           d. When notified of the unauthorized transactions and theft, Defendant
                               6              Citibank did not conduct an investigation into Plaintiff’s allegations,
                               7              and simply denied Plaintiff’s claim and refused to return Plaintiff’s
                               8              money.
                               9           e. When notified of the unauthorized transactions and theft, Defendant
                              10              PayPal did nothing to secure Plaintiff’s account against further
                              11              unauthorized use, and their lack of action permitted the thief to remove
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                              12              money from the unauthorized second PayPal account after PayPal was
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                              13              already aware of the identity theft issue.
                              14           f. Upon information and belief, Defendants fail to maintain adequate
                              15              procedures related to the investigation of claims of theft and
                              16              unauthorized transactions.
                              17           g. Upon information and belief, Defendants maintained policies and
                              18              procedures regarding unauthorized transactions that routinely deny
                              19              legitimate disputes and fail to secure account(s) even after Defendants
                              20              are notified of unauthorized activity on Plaintiffs’ respective accounts.
                              21           h. Defendant Citibank’s failure to reopen its investigation and review
                              22              upon request and upon being confronted with undeniable proof that
                              23              Plaintiff had been the victim of unauthorized transactions and theft
                              24              shows a pattern and practice of rejecting any request for further
                              25              investigation and is patently unfair in violation of the statute.
                              26           i. Defendant PayPal’s failure to secure Plaintiff’s account in May 2021
                              27              after it was made aware of unauthorized transfers into a PayPal account
                              28              associated with Plaintiff shows a pattern and practice of failure to

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                               1               safeguard consumers accounts upon discovery of a theft/unauthorized
                               2               use issue, and is patently unfair in violation of the statute.
                               3 92. Defendants’ acts, omissions, misrepresentations, and practices as alleged herein
                               4       also constitute “unfair” business acts and practices within the meaning of the
                               5       UCL in that its conduct is substantially injurious to consumers, offends public
                               6       policy, and is immoral, unethical, oppressive, and unscrupulous as the gravity
                               7       of the conduct outweighs any alleged benefits attributable to such conduct.
                               8 93. There were reasonably available alternatives to further Defendants’ legitimate
                               9       business interests, other than the conduct described herein.
                              10 94. Plaintiff reserves the right to allege further conduct which constitutes other
                              11       unfair business acts or practices. Such conduct is ongoing and continues to this
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                              12       date.
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                              13 95. In order to satisfy the “unfair” prong of the UCL, a consumer must show that
                              14       the injury: (1) is substantial; (2) is not outweighed by any countervailing
                              15       benefits to consumers or competition; and, (3) is not one that consumers
                              16       themselves could reasonably have avoided.
                              17 96. Here, Defendants’ conduct has caused and continues to cause substantial injury
                              18       to Plaintiff since Plaintiff has suffered injury in fact due to Defendants’ failure
                              19       to prevent withdrawal of funds by someone other than Plaintiff without written
                              20       or oral authorization for that person to do so, and failure to return the funds once
                              21       the issue was pointed out.
                              22 97. Moreover, there is no benefit to consumers where Defendants fail to ensure use
                              23       of one of its accounts by the owner of the account, and fails to return money to
                              24       a consumer who has had their account improperly debited after the improper
                              25       debit is brought to Defendants’ attention. Thus, the injury suffered by Plaintiff
                              26       is not outweighed by any countervailing benefits to consumers.
                              27 98. Finally, the injury suffered by Plaintiff is not an injury that these consumers
                              28       could reasonably have avoided since Defendants did not notify Plaintiff of

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                               1       unusual transactions/activity on her account, Defendants failed to prevent
                               2       withdrawal of funds by someone other than Plaintiff without written or oral
                               3       authorization for that person to do so, and failed to return the funds once the
                               4       issue was pointed out.
                               5 99. As such, Defendants took advantage of Defendants’ position of perceived
                               6       power in order to avoid returning Plaintiff’s money to her.
                               7 100. The injury suffered by Plaintiff is not an injury which Plaintiff could reasonably
                               8       have avoided.
                               9 101. Thus, Defendants’ conduct has violated the “unfair” prong of the Cal. Bus. &
                              10       Prof. Code § 17200.
                              11                                         FRAUDULENT
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                              12 102. The Cal. Bus. & Prof. Code § 17200 prohibits any “fraudulent ... business act
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                              13     or practice.”
                              14 103. Defendant’s actions as described above were contrary to public policy and
                              15     generally recognized standards of business and industry practices.
                              16 104. Defendant Citibank engaged in the following fraudulent conduct in violation of
                              17     § 17200:
                              18            a. As discussed above, Defendant Citibank was informed of two
                              19                unauthorized, fraudulent transactions ($3,900 on 5/12/2021, and $6,800
                              20                on 5/14/2021) by Plaintiff on May 16, 2021. Defendant Citibank told
                              21                Plaintiff she did not have to worry about these transactions, and they
                              22                would take care of it.
                              23            b. Citibank not only permitted the first two unauthorized, fraudulent
                              24                transactions to post to Plaintiff’s account with no credit issued, it
                              25                permitted a third unauthorized, fraudulent transaction of $9,900 to go
                              26                through on May 18, 2021.
                              27            c. Citibank did no investigation into these three unauthorized, fraudulent
                              28                transactions, provided no provisional credits, and denied Plaintiff’s

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                               1              claim as to these three unauthorized, fraudulent transactions on
                               2              numerous occasions.
                               3           d. Citibank represented to Plaintiff that she was responsible for the
                               4              unauthorized transfers because she used their billpay service all the
                               5              time, but provided no other investigation or information about an
                               6              investigation as to why she was being held responsible for these
                               7              amounts.
                               8           e. Citibank knew that there was an unrecognized and unauthorized email
                               9              address and phone number that had been added to Plaintiff’s account in
                              10              May 2021, and they did nothing to secure Plaintiff’s account after
                              11              Plaintiff notified Citibank of the unauthorized, fraudulent transactions.
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                              12           f. Citibank denied Plaintiff’s claim and appeals of her claim on at least
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                              13              five occasions, and was told by someone in the Citibank President’s
                              14              Office that Citibank would no longer respond to any of her appeals or
                              15              answer any more of her questions.
                              16           g. Citibank refused to provide Plaintiff with the recording of her original
                              17              phone call to Citibank on May 16, 2021, where she originally reported
                              18              the unauthorized transactions.
                              19           h. Citibank refused to provide Plaintiff with complete information on the
                              20              identifiers of the person who actually performed the unauthorized
                              21              transfers out of her Citibank account.
                              22           i. Defendant Citibank’s acts, omissions, misrepresentations, and practices
                              23              as alleged herein also constitute “fraudulent” business acts and
                              24              practices within the meaning of the UCL in that its conduct is
                              25              substantially injurious to consumers, offends public policy, and is
                              26              immoral, unethical, oppressive, and unscrupulous as the gravity of the
                              27              conduct outweighs any alleged benefits attributable to such conduct.
                              28 ///

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                               1           j. There were reasonably available alternatives to further Defendant
                               2                Citibank’s legitimate business interests, other than the conduct
                               3                described herein.
                               4 105. Defendant PayPal engaged in the following fraudulent conduct in violation of
                               5     § 17200:
                               6           a. As discussed above, Defendant PayPal was informed of three
                               7                unauthorized, fraudulent transactions ($3,900 on 5/12/2021, $6,800 on
                               8                5/14/2021, and $9,900 on 5/18/2021) that were transferred into a newly,
                               9                fraudulently opened PayPal account in Plaintiff’s name on May 8,
                              10                2021. Defendant PayPal told Plaintiff they had no information on any
                              11                of these transactions.
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                              12           b. PayPal did nothing to secure Plaintiff’s account or investigate into the
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                              13                newly opened account or the activity therein, and permitted the thief to
                              14                add a debit card and remove the $20,600 from the unauthorized PayPal
                              15                account after PayPal had already been informed of the unauthorized
                              16                transfers.
                              17           c. PayPal did no investigation into these three unauthorized, fraudulent
                              18                transactions until Plaintiff issued a CFPB Complaint on October 1,
                              19                2021, almost five months after Plaintiff originally reported the
                              20                unauthorized activity and theft to PayPal.
                              21           d. PayPal knew that there was an unrecognized and unauthorized email
                              22                address and phone number that had been added to Plaintiff’s account in
                              23                May 2021, and they did nothing to secure Plaintiff’s account after
                              24                Plaintiff notified PayPal of the unauthorized, fraudulent transactions.
                              25           e. PayPal represented to Plaintiff that not only could they not figure out
                              26                what happened to Plaintiff’s money for months, but they could not even
                              27                provide Plaintiff any information at all or make any connection between
                              28                Plaintiff’s legitimate PayPal account, the fraudulent PayPal account,

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                               1                  the bank account information, or any personal identifying information
                               2                  of Plaintiff’s.
                               3            f. However, within 14 days of the filing of a CFPB complaint against
                               4                  them, PayPal was able to figure out exactly what happened to Plaintiff’s
                               5                  money in the unauthorized PayPal account opened in Plaintiff’s name.
                               6            g. PayPal finally came to the correct conclusion that the PayPal account
                               7                  had been opened and used fraudulently, but this did not happen until
                               8                  October 15, 2021, more than five months after the second PayPal
                               9                  account was fraudulently opened, more than five months after PayPal
                              10                  was made aware there were theft issues related to the unauthorized
                              11                  account, and more than 4 months after the thief removed the entirety of
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                              12                  the $20,600 of unauthorized transfers out of the unauthorized PayPal
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                              13                  account.
                              14            h. Defendant PayPal’s acts, omissions, misrepresentations, and practices
                              15                  as alleged herein also constitute “fraudulent” business acts and
                              16                  practices within the meaning of the UCL in that its conduct is
                              17                  substantially injurious to consumers, offends public policy, and is
                              18                  immoral, unethical, oppressive, and unscrupulous as the gravity of the
                              19                  conduct outweighs any alleged benefits attributable to such conduct.
                              20            i. There were reasonably available alternatives to further Defendant
                              21                  PayPal’s legitimate business interests, other than the conduct described
                              22                  herein
                              23 106. Plaintiff reserves the right to allege further conduct which constitutes other
                              24     fraudulent business acts or practices. Such conduct is ongoing and continues to
                              25     this date.
                              26 107. In order to satisfy the “fraudulent” prong of the UCL, a consumer must show:
                              27     (1) The representation, omission or practice must mislead or be likely to mislead;
                              28     (2) The customer’s interpretation of the representation, omission or practice must

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                               1     be reasonable under the circumstances; and (3) The misleading representation,
                               2     omission or practice must be material.
                               3 108. Here, Defendant Citibank’s conduct was misleading in that it did not adequately
                               4     explain the reason for claim denial and it did not perform an investigation into
                               5     the alleged error at all before refusing to return the money.
                               6 109. Here, Defendant PayPal’s conduct was misleading in that it told Plaintiff for
                               7     months that it could not figure out what happened to Plaintiff’s money, did
                               8     nothing to secure any account associated with Plaintiff, failed to investigate the
                               9     alleged unauthorized use of a PayPal account, and failed to return Plaintiff’s
                              10     money.
                              11 110. Plaintiff’s response and interpretation of Citibank’s behavior was reasonable
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                              12     under the circumstances because she was told by the representatives that this
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                              13     situation was not a big deal, and that they would resolve the issue in her favor.
                              14 111. Plaintiff’s response and interpretation of PayPal’s behavior was reasonable
                              15     under the circumstances because she was told by PayPal that they didn’t know
                              16     where the money was, or how Citibank was involved – they told her they had no
                              17     information.
                              18 112. Each Defendant’s misleading conduct was material in that it affected the way
                              19     in which Plaintiff handled the situation, it caused the money to be transferred out
                              20     of the unauthorized PayPal account even after PayPal was aware of the theft/fraud
                              21     issue, and Citibank prevented Plaintiff from obtaining further information on who
                              22     did this, how it happened, and Citibank refused to even credit her the money
                              23     provisionally while they investigated. It prevented Plaintiff from properly
                              24     addressing the situation because she was lied to repeatedly by both parties.
                              25 113. As such, each Defendant took advantage of their positions of perceived power
                              26     in order to avoid returning Plaintiff’s money to her.
                              27 114. The injury suffered by Plaintiff is not an injury which Plaintiff could reasonably
                              28     have avoided.

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                               1 115. Thus, each Defendant’s conduct has violated the “fraudulent” prong of the Cal.
                               2      Bus. & Prof. Code § 17200.
                               3                                        COUNT IV
                               4                                      CONVERSION
                               5 116. Plaintiff incorporates, by reference, all of the above paragraphs of this
                               6       Complaint as though fully stated herein.
                               7 117. Plaintiff had a right to possession of her money at all times herein as Plaintiff
                               8       is the owner of the money and did not authorize anyone to take or withdraw the
                               9       money from her account.
                              10 118. More importantly, Plaintiff had a right to possession of her money at the time
                              11       it was brought to Defendant’s attention that the money had been fraudulently
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                              12       spent, as she is the owner of the money, and did not authorize anyone to take or
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                              13       withdraw the money from her account. At present, Plaintiff is still the rightful
                              14       owner of the money and has a continuing right of possession in the money.
                              15 119. Defendants have intentionally and substantially interfered with Plaintiff’s
                              16       property by wrongfully failing to return Plaintiff’s money, by preventing
                              17       Plaintiff from having access to her money, and by refusing to return Plaintiff’s
                              18       money to Plaintiff after Plaintiff demanded its return.
                              19 120. Plaintiff did not and does not consent to Defendants’ possession of Plaintiff’s
                              20       money.
                              21 121. Defendants unlawfully converted Plaintiff’s money, to Plaintiff’s detriment
                              22       causing Plaintiff damage.
                              23 122. Plaintiff should therefore be indemnified for all her losses which are the natural,
                              24       reasonable, and proximate result of Defendant’s conduct. In addition, Plaintiff
                              25       should be compensated for the time and money reasonably spent trying to get
                              26       her property back.
                              27 123. Defendant has caused Plaintiff actual damages including but not limited to
                              28       pecuniary loss, loss of use of her money, inconvenience, and emotional distress.

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                               1 124. Defendant’s conduct is not only a substantial factor in causing Plaintiff’s harm,
                               2       but also currently the only factor causing Plaintiff’s harm.
                               3 125. As a result of Defendant’s conduct, Plaintiff is entitled to actual damages,
                               4       including economic and non-economic damages, and punitive damages.
                               5                                  PRAYER FOR RELIEF
                               6 WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:
                               7            a) Award of compensatory damages for losses, in an amount to be
                               8               determined at trial, pursuant to the common law of torts against each
                               9               Defendant and for Plaintiff, and,
                              10            b) Award for interest on the amount of losses incurred at the prevailing legal
                              11               rate against each Defendant and for Plaintiff, and,
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                              12            c) Award for pre-judgment interest against each Defendant and for Plaintiff,
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                              13               and,
                              14            d) Award of exemplary and punitive damages, in an amount to be
                              15               determined at trial, pursuant to Cal. Civ. Code § 3924 against each
                              16               Defendant and for Plaintiff, and,
                              17            e) Award of actual damages pursuant to 15 U.S.C. § 1693m(a)(1) against
                              18               each Defendant and for Plaintiff, and,
                              19            f) Award of treble damages pursuant to 15 U.S.C. § 1693f(e), against each
                              20               Defendant and for Plaintiff, and,
                              21            g) Award of statutory damages pursuant to 15 U.S.C. § 1693m(a)(2)(A),
                              22               against each Defendant and for Plaintiff, and,
                              23            h) Award of costs of litigation and reasonable attorney’s fees pursuant to 15
                              24               U.S.C. § 1693m(a)(3), against each Defendant and for Plaintiff,
                              25            i) As a result of each and every violation of the UCL, Plaintiff is entitled to
                              26               restitution of any money which each Defendant acquired by means of
                              27               unlawful, unfair, and or deceptive practice pursuant to Cal. Bus. & Prof.
                              28               Code § 17203;

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                               1            j) Any declaratory and/or injunctive relief the court deems appropriate
                               2               pursuant to Cal. Bus. & Prof. Code § 17203;
                               3            k) An Order that Defendants immediately return Plaintiff’s money to her;
                               4            l) An award of interest on Plaintiff’s money, calculated from the date of
                               5               conversion at the legal rate;
                               6            m) An award of actual damages, including economic and non-economic
                               7               damages;
                               8            n) An award of exemplary damages;
                               9            o) An award of costs incurred herein;
                              10            p) An award of punitive damages;
                              11            q) That the Court preliminarily and permanently enjoin each Defendant
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                              12               from engaging in the unfair and/or unlawful practices stated herein, and
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                              13            r) Award to Plaintiff of such other and further relief as may be just and
                              14               proper, including but not limited to, restitution, declaratory and injunctive
                              15               relief.
                              16                             TRIAL BY JURY IS DEMANDED
                              17 126. Pursuant to the Seventh Amendment to the Constitution of the United States of
                              18       America, Plaintiff is entitled to, and demands, a trial by jury.
                              19
                              20                                          THE CARDOZA LAW CORPORATION
                              21 DATED: June 2, 2022                      BY: /S/ LAUREN B. VEGGIAN
                              22                                          MICHAEL F. CARDOZA, ESQ.
                                                                          LAUREN B. VEGGIAN, ESQ.
                              23                                          ATTORNEYS FOR PLAINTIFF,
                              24                                          JOSEPHINE LEE

                              25
                              26
                              27
                              28

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                               1           ELECTRONICALLY STORED INFORMATION REQUEST
                               2         This notice is to demand that you preserve all documents, tangible things and
                               3 electronically stored information (“ESI”) potentially relevant to any issues in the
                               4 above-entitled matter. This specifically includes, but is not limited to, all
                               5 information pertaining to the above matter, including specifically all recordings of
                               6 any telephone communication between your company and Plaintiff.
                               7         As used in this request, “you” and “your” or “your client” refers to your
                               8 organizations, and its predecessors, successors in interest, assignees, parents,
                               9 subsidiaries, divisions or affiliates, and their respective officers, directors,
                              10 employees, servants, agents, attorneys, and accountants.
                              11         Much of the information subject to disclosure or responsive to discovery is
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                              12 stored on your client’s current and former computer systems and other media and
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                              13 devices (such as: personal digital assistants, voice-messaging systems, online
                              14 repositories and cell phones).
                              15         Electronically stored information (“ESI”) should be afforded the broadest
                              16 possible definition and includes (for example and not as an exclusive list)
                              17 potentially relevant information whether electronically, magnetically or optically
                              18 stored.
                              19         This preservation obligation extends beyond ESI in yours or your client’s
                              20 care, possession or custody and includes ESI in the custody of others that is subject
                              21 to your client’s direction or control. You must notify any current or former agent,
                              22 attorney, employee, custodian or contractor in possession of potentially relevant ESI
                              23 to preserve such ESI to the full extent of your client’s obligation to do so, and you
                              24 must try to secure their compliance.
                              25
                              26
                              27
                              28

                                   ELECTRONICALLY STORED INFORMATION REQUEST
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                                                                        PROOF OF SERVICE
                               1
                               2         I am a resident of the State of South Carolina, over the age of eighteen years, and not a
                                 party to the within action. My business address is The Cardoza Law Corporation, 548 Market
                               3 Street #80594, San Francisco, CA 94104. On June 2, 2022, I served the within document(s):
                               4                                 FIRST AMENDED COMPLAINT

                               5          ☒       E-MAIL - by transmitting via e-mail the document(s) listed above to the e-mail
                               6                  address(es) set forth below on this date before 11:59 p.m.
                                          ☐       MAIL - by placing the document(s) listed above in a sealed envelope with postage
                               7                  thereon fully prepaid, in the United States mail at San Francisco County, California
                                                  addressed as set forth below.
                               8          ☐       USPS Certified Mail - by placing the document(s) listed above in a sealed
                               9                  envelope with certified mail postage thereon fully prepaid, return receipt
                                                  requested, in the United States mail at San Francisco County, California addressed
                              10                  as set forth below.
                                          ☐       PERSONAL SERVICE - by personally delivering the document(s) listed above to
                              11
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                                                  the person(s) at the address(es) set forth below.
                              12          ☐       CM/ECF - by transmitting electronically the document(s) listed above to the
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                                                  electronic case filing system on this date before 11:59 p.m. The Court’s CM/ECF
                              13                  system sends an e-mail notification of the filing to the parties and counsel of record
                                                  who are registered with the Court’s CM/ECF system.
                              14
                                                  Brian H. Gunn                                     Lyndsey C. Heaton
                              15
                                              Wolfe & Wyman, LLP                                Sideman & Bancroft, LLP
                              16           2033 N. Main Street, Suite 365                       One Embarcadero Center
                                             Walnut Creek, CA 94596                                Twenty-Second Floor
                              17                 bhgunn@ww.law                                  San Francisco, CA 94111
                                             Counsel for Citibank, N.A.                           lheaton@sideman.com
                              18                                                                 Counsel for PayPal, Inc.
                              19
                                         I am readily familiar with the firm's practice of collection and processing correspondence
                              20 for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same
                                 day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
                              21 motion of the party served, service is presumed invalid if postal cancellation date or postage meter
                                 date is more than one day after date of deposit for mailing in affidavit.
                              22
                              23          I declare under penalty of perjury under the laws of the United States that the above is true
                                   and correct. Executed on June 2, 2022, at Beaufort County, South Carolina.
                              24
                              25                                                       BY: /S/ LAUREN B. VEGGIAN
                              26
                              27
                              28

                                   ELECTRONICALLY STORED INFORMATION REQUEST
